  Case: 1:10-cv-07459 Document #: 5 Filed: 11/18/10 Page 1 of 1 PageID #:24




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

CATHLEEN A. SIMOVIC                   )
          PLAINTIFF,                  )
                                      )                      Civil Action No._____
               v.                     )
                                      )
PORTFOLIO RECOVERY                    )
ASSOCIATES, LLC.                      )
                                      )
                DEFENDANT.            )                      Jury Demanded

                                  NOTICE OF FILING

       Be advised that on November 18, 2010, I, M. Kris Kasalo, caused to be filed with
the United States District Court for the Northern District of Illinois Eastern Division, via
the Court’s ECF System, Plaintiff’s Complaint with Exhibits A-F, Civil Cover Sheet,
and Attorney Appearance.



                                              By: s/ Mario Kris Kasalo
                                              Mario Kris Kasalo




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